                                                          20-929M(NJ)




4/9/2020 over the telephone




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                   AFFIDAVIT IN SUPPORT OF A SEARCH WARRANT


I, Todd Marratt, being duly sworn, hereby depose and say:


      1.       I am a Deputy United States Marshal with the United States Marshals Service

and, as such, am charged with enforcing all laws in all jurisdictions of the United States, its

territories and possessions. I have been a member of the United States Marshals Service for 8

years and during that time have been assigned to the US Marshals Fugitive Task Force for over 4

years. While assigned to the Fugitive Task Force, I have investigated several hundred fugitive

cases and have located fugitives utilizing methods in electronic surveillance to include social

media accounts.

      2.       This Affidavit is made in support of an application for a search warrant to search

the Target Account, more fully described in Attachment A, for evidence, instrumentalities, and

proceeds, more fully described in Attachment B, for violations of Title 18 USC 3583 –

Violations of the Conditions of Supervised Release. The facts set forth in this Affidavit are

based upon my personal observations, my training and experience, and information obtained

from other law enforcement agents and witnesses. This Affidavit is intended to show that there is

probable cause to believe that evidence, instrumentalities, and proceeds, more fully described in

Attachment B, for the subject offenses listed above will be found in the subject accounts, more

fully described in Attachment A, and does not purport to set forth all of my knowledge of or

investigation into this matter.


           STORED WIRE AND ELECTRONIC COMMUNICATION ACCESS


      3.       Title 18, United States Code, Chapter 121, Sections 2701 through 2711, is entitled

“Stored Wire and Electronic Communications and Transactional Records Access.”


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       a.     Title 18, United States Code, Section 2703(a) provides, in part:

       A governmental entity may require the disclosure by a provider of electronic
       communication service of the contents of a wire or electronic communication, that
       is in electronic storage in an electronic communications system for one hundred
       and eighty days or less, only pursuant to a warrant issued using the procedures
       described in the Federal Rules of Criminal Procedure by a court with jurisdiction
       over the offense under investigation or equivalent State warrant. A governmental
       entity may require the disclosure by a provider of electronic communications
       services of the contents of a wire or electronic communication that has been in
       electronic storage in an electronic communications system for more than one
       hundred and eighty days by the means available under subsection (b) of this
       section.

       b.     Title 18, United States Code, Section 2703(b) provides, in part:

              (1) A governmental entity may require a provider of remote computing
              service to disclose the contents of any electronic communication to which
              this paragraph is made applicable by paragraph (2) of this subsection
                      (A) without required notice to the subscriber or customer, if the
                      governmental entity obtains a warrant issued using the procedures
                      described in the Federal Rules of Criminal Procedure by a court
                      with jurisdiction over the offense under investigation or equivalent
                      State warrant .

              (2) Paragraph (1) is applicable with respect to any wire or electronic
              communication that is held or maintained on that service

                      (A) on behalf of, and received by means of electronic transmission
                      from (or created by means of computer processing of
                      communications received by means of electronic transmission
                      from), a subscriber or customer of such remote computer service;
                      and
                      (B) solely for the purpose of providing storage or computer
                      processing services to such subscriber or customer, if the provider
                      is not authorized to access the contents of any such
                      communications for purposes of providing any services other than
                      storage or computer processing.
       c.     The government may also obtain records and other information pertaining

to a subscriber to or customer of electronic communication service or remote computing

service by way of a search warrant. See 18 U.S.C. § 2703(c)(1)(A). No notice to the

subscriber or customer is required. See 18 U.S.C. § 2703(c)(3).


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       d.      The statute permits the warrant to be served on the provider, who will then

disclose the relevant records to the officer, who need not be onsite at the time the search

is executed. Title 18, United States Code, Section 2703(g), provides, in part:


       Presence of Officer Not Required Notwithstanding section 3105 of this title, the
       presence of an officer shall not be required for service or execution of a search
       warrant issued in accordance with this chapter requiring disclosure by a provider
       of electronic communications service or remote computing service of the contents
       of communications or records or other information pertaining to a subscriber to or
       customer of such service.
       e.      Title 18, United States Code, Section 2711, provides, in part:
               As used in this chapter
               (1) the terms defined in section 2510 of this title have, respectively, the
               definitions given such terms in that section;
               (2) the term “remote computing service” means the provision to the public
               of computer storage or processing services by means of an electronic
               communications system.
       f.      Title 18, United States Code, Section 2510, provides, in part:
                (8) “contents,” when used with respect to any wire, oral, or electronic
                communication, includes any information concerning the substance,
                purport, or meaning of that communication; . . .
               (14) “electronic communications system” means any wire, radio,
               electromagnetic, photo optical or photo electronic facilities for the
               transmission of wire or electronic communications, and any computer
               facilities or related electronic equipment for the electronic storage of such
               communications; . . .
               (15) “electronic communication service” means any service which
               provides to users thereof the ability to send or receive wire or electronic
               communications; . . .
               (17) “electronic storage” means
                       (A) any temporary, intermediate storage of a wire or electronic
                       communication incidental to the electronic transmission thereof;
                       and
                       (B) any storage of such communication by an electronic
                       communication service for purposes of backup protection of such
                       communication.

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                         FACEBOOK TECHNICAL BACKGROUND


       4.       Facebook owns and operates a free-access social networking website of the same

name that can be accessed at http://www.facebook.com. Facebook allows its users to establish

accounts through which users can share written news, photographs, videos, and other

information with other Facebook users, and sometimes with the general public.

       5.       Facebook asks users to provide basic contact information, either during the

registration process or thereafter. This information may include the user’s full name, birth date,

contact e-mail addresses, physical address (including city, state, and zip code), telephone

numbers, screen names, websites, and other personal identifiers. Facebook also assigns a user

identification number to each account.

       6.       Facebook users can select different levels of privacy for the communications and

information associated with their Facebook accounts. By adjusting these privacy settings, a

Facebook user can make information in the user’s account available only to himself or herself, to

other specified Facebook users, to all Facebook users, or to anyone with access to the Internet,

including people who are not Facebook users. Facebook accounts also include other account

settings that users can adjust to control, for example, the types of notifications they receive from

Facebook. Depending on the user’s privacy settings, Facebook may also obtain and store the

physical location of the user’s device(s) as they interact with the Facebook service on those

device(s).

       7.       Facebook users may join one or more groups or networks to connect and interact

with other users who are members of the same group or network. A Facebook user can also

connect directly with individual Facebook users by sending each user a “Friend Request.” If the

recipient of a “Friend Request” accepts the request, then the two users will become “Friends” for


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purposes of Facebook and can exchange communications or view information about each other.

Each Facebook user’s account includes a list of that user’s “Friends” and a “Mini-Feed,” which

highlights information about the user’s “Friends,” such as profile changes, upcoming events, and

birthdays.

       8.       Facebook users can create profiles that include photographs, lists of personal

interests, and other information. Facebook users can also post “status” updates about their

whereabouts and actions, as well as links to videos, photographs, articles, and other items

available elsewhere on the Internet. Facebook users can also post information about upcoming

“events,” such as social occasions, by listing the event’s time, location, host, and guest list. A

particular user’s profile page also includes a “Wall,” which is a space where the user and his or

her “Friends” can post messages, attachments, and links that will typically be visible to anyone

who can view the user’s profile.

       9.       Facebook has a Photos application, where users can upload an unlimited number

of albums and photos. Another feature of the Photos application is the ability to “tag” (i.e., label)

other Facebook users in a photo or video. When a user is tagged in a photo or video, he or she

receives a notification of the tag and a link to see the photo or video. For Facebook’s purposes, a

user’s “Photoprint” includes all photos uploaded by that user that have not been deleted, as well

as all photos uploaded by any user that have that user tagged in them.

       10.      Facebook users can exchange private messages on Facebook with other users.

These messages, which are similar to e-mail messages, are sent to the recipient’s “Inbox” on

Facebook, which also stores copies of messages sent by the recipient, as well as other

information. Facebook users can also post comments on the Facebook profiles of other users or




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on their own profiles; such comments are typically associated with a specific posting or item on

the profile.

          11.      Facebook Notes is a blogging feature available to Facebook users, and it enables

users to write and post notes or personal web logs (“blogs”), or to import their blogs from other

services, such as Xanga, LiveJournal, and Blogger.

          12.      The Facebook Gifts feature allows users to send virtual “gifts” to their friends that

appear as icons on the recipient’s profile page. Gifts cost money to purchase, and a personalized

message can be attached to each gift. Facebook users can also send each other “pokes,” which

are free and simply result in a notification to the recipient that he or she has been “poked” by the

sender.

          13.      In addition to the applications described above, Facebook also provides its users

with access to thousands of other applications on the Facebook platform. When a Facebook user

accesses or uses one of these applications, an update about that the user’s access or use of that

application may appear on the user’s profile page.

          14.      Some Facebook pages are affiliated with groups of users, rather than one

individual user. Membership in the group is monitored and regulated by the administrator or

head of the group, who can invite new members and reject or accept requests by users to enter.

Facebook can identify all users who are currently registered to a particular group and can

identify the administrator and creator of the group. Facebook also assigns a group identification

number to each group. Facebook uses the term “Group Contact Info” to describe the contact

information for the group’s creator and administrator, as well as the current status of the group

profile page.




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       15.      Facebook uses the term “Neoprint” to describe an expanded view of a given user

profile. The “Neoprint” for a given user can include the following information from the user’s

profile: profile contact information; Mini-Feed information; status updates; links to videos,

photographs, articles, and other items; Notes; Wall postings; friend lists, including the friends’

Facebook user identification numbers; groups and networks of which the user is a member,

including the groups’ Facebook group identification numbers; future and past event postings;

rejected “Friend” requests; comments; gifts; pokes; tags; and information about the user’s access

and use of Facebook applications.

       16.      Facebook also retains IP address logs for a given user ID or IP address. These

logs may contain information about the actions taken by the user ID or IP address on Facebook,

including information about the type of action, the date and time of the action, and the user ID

and IP address associated with the action.

       17.      Social networking providers like Facebook typically retain additional information

about their users’ accounts, such as information about the length of service (including start date),

the types of service used, and the means and source of any payments associated with the service

(including any credit card or bank account number). In some cases, Facebook users may

communicate directly with Facebook about issues relating to their account, such as technical

problems, billing inquiries, or complaints from other users. Social networking providers like

Facebook typically retain records about such communications, including records of contacts

between the user and the provider’s support services, as well records of any actions taken by the

provider or user as a result of the communications.

       18.      Therefore, the computers of Facebook are likely to contain all the material just

described, including stored electronic communications and information concerning subscribers



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and their use of Facebook, such as account access information, transaction information, and

account application.


                                       PROBABLE CAUSE


       19.      On or about July 28th, 2015, an indictment was issued charging Xavier Harrell in

the Eastern District of Wisconsin (Case No. 15-CR-00149) for Possession of a Firearm by a

Felon in violation of Title 18 USC Sections 922(g)(1). On March 9th, 2016, Harrell was

sentenced by the Honorable District Court Judge Statdmueller to 30 months imprisonment and

36 months supervised release.

       20.      On March 20, 2019, an arrest warrant was signed by the Honorable District Court

Judge Stadtmueller due to Harrell violating his terms of Supervised Release. On March 27th,

2020, the United States Marshals Service received information from a source that Harrell utilizes

the Facebook account of “Xavier Mane”. The source stated that Facebook messenger was his

primary source of communication. Your affiant conducted a public search of Facebook and

found the above account “Xavier Mane” or Facebook User ID# 100044164879084.

       21.      Your affiant found pictures of Xavier Harrell within the said account and

confirmed they were indeed Harrell by comparing the Facebook photos to past booking photos of

Harrell. Also within the “Friends” section, your affiant located known family members and

associates of Harrell. The last public post by Harrell was a “timeline” photo posted on March

28th, 2020.

       22.      Mr. Harrell lives the life of a transient in that he does not have a stable living

arrangement. Mr. Harrell does not reside at one location for long enough periods to form

residency. The Facebook search warrant would assist law enforcement in attaining a phone



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number, GPS locations, IP addresses, as well as posts and/or pictures of who Mr. Harrell may be

staying with, at any given time.

       23.     Based on your affiant’s training and experience in locating and apprehending

potentially violent fugitives, the data being sought by this warrant will assist in locating Harrell.

Because successful apprehensions, particularly of violent fugitives, often rely on the element of

surprise and on taking the fugitive by unaware, it is often necessary to attempt an arrest during

nighttime or the early morning hours, when most people are sleeping. Further, apprehension

tactical plans often change at the last minute based on unexpected movements or other behavior

of the target. Therefore, I cannot predict in advance when this data would need to be accessed,

and would need access to the data at all times of the day or night in order to ensure a safe and

successful apprehension.

       24.     As of the date of this affidavit, Harrell’s whereabouts remain unknown, and the

arrest warrant in 15-CR-00149 remains unserved.


                                          CONCLUSION


       25.     Based on the facts set forth in this Affidavit, your Affiant submits that there is

probable cause to believe that the subject accounts contain the fruits, instrumentalities, and

evidence of the subject offenses.




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                                     ATTACHMENT A


       This warrant applies to information associated with the Facebook user ID#

100044164879084 that is stored at premises owned, maintained, controlled, or operated by

Facebook Inc., a company headquartered in Menlo Park, California.




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                                       ATTACHMENT B

                                 Particular Things to be Seized

I.     Information to be disclosed by Facebook

To the extent that the information described in Attachment A is within the possession, custody,

or control of Facebook Inc. (“Facebook”), including any messages, records, files, logs, or

information that have been deleted but are still available to Facebook, or have been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to disclose the

following information to the government for each user ID listed in Attachment A:

       (a)     All contact and personal identifying information, including [[for user ID#

               100044164879084: full name, user identification number, birth date, gender,

               contact e-mail addresses, Facebook passwords, Facebook security questions and

               answers, physical address (including city, state, and zip code), telephone numbers,

               screen names, websites, and other personal identifiers.]]

       (b)     All activity logs for the account and all other documents showing the user’s posts

               and other Facebook activities;

       (c)     All photos and videos uploaded by that user ID and all photos and videos

               uploaded by any user that have that user tagged in them;

       (d)     All profile information; News Feed information; status updates; links to videos,

               photographs, articles, and other items; Notes; Wall postings; friend lists, including

               the friends’ Facebook user identification numbers; groups and networks of which

               the user is a member, including the groups’ Facebook group identification

               numbers; future and past event postings; rejected “Friend” requests; comments;

               gifts; pokes; tags; and information about the user’s access and use of Facebook




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         applications;

(e)      All other records of communications and messages made or received by the user,

         including all private messages, chat history, video calling history, and pending

         “Friend” requests;

(f)      All “check ins” and other location information;

(g)      All IP logs, including all records of the IP addresses that logged into the account;

(h)      All records of the account’s usage of the “Like” feature, including all Facebook

         posts and all non-Facebook webpages and content that the user has “liked”;

(i)      All information about the Facebook pages that the account is or was a “fan” of;

(j)      All past and present lists of friends created by the account;

(k)      All records of Facebook searches performed by the account;

(l)      All information about the user’s access and use of Facebook Marketplace;

(m)      The types of service utilized by the user;

(n)      The length of service (including start date) and the means and source of any

         payments associated with the service (including any credit card or bank account

         number);

(o)      All privacy settings and other account settings, including privacy settings for

         individual Facebook posts and activities, and all records showing which Facebook

         users have been blocked by the account;

(p)      All records pertaining to communications between Facebook and any person

         regarding the user or the user’s Facebook account, including contacts with support

         services and records of actions taken.




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